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                            UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                      WACO
                                      WACO DIVISION

WSOU INVESTMENTS LLC                             §
                                                 §
vs.                                              §        NO:   WA:20-CV-00456-ADA
                                                 §
MICROSOFT CORPORATION                            §



                  ORDER SETTING TELEPHONIC
                                TELEPHONIC DISCOVERY HEARING




       The Court hereby sets and directs the parties, or counsel acting on their behalf, to appear by

phone for a telephone conference on November
                                    1 / 30 2 0 30, 2020 at 03:30 PM . Please call (866) 434-5269
                                                           03:30 PM

with access code 9678090 to be included in the hearing.



               SIGNED on 1/28 02




                                                     Alan D Albright
                                                     UNITED STATES DISTRICT JUDGE
